                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.1 Page 1 of 14



                                1   KAZEROUNI LAW GROUP, APC                  LAW OFFICE OF DANIEL G. SHAY
                                2   Abbas Kazerounian, Esq. (249203)          Daniel G. Shay, Esq.
                                    ak@kazlg.com                              danielshay@tcpafdcpa.com
                                3   Matthew M. Loker, Esq. (279939)           409 Camino Del Rio South, Suite 101B
                                4   ml@kazlg.com                              San Diego, CA 92108
                                    245 Fischer Avenue, Unit D1               Telephone: (619) 222-7249
                                5   Costa Mesa, CA 92626                      Facsimile: (866) 431-3292
                                6   Telephone: (800) 400-6808
                                    Facsimile: (800) 520-5523
                                7
                                    HYDE & SWIGART
                                8
                                    Joshua B. Swigart, Esq. (225557)
                                9   josh@westcoastlitigation.com
                                    Yana A. Hart, Esq. (SBN: 306499)
                               10
                                    yana@westcoastlitigation.com
                               11   2221 Camino Del Rio South, Ste. 101
                                    San Diego, CA 92108
                               12
KAZEROUNI LAW GROUP, APC




                                    Telephone: (619) 233-7770
 245 FISCHER AVENUE, UNIT D1




                               13   Facsimile: (619) 297-1022
    COSTA MESA, CA 92626




                               14
                                    Attorneys for Plaintiffs
                               15
                                                        UNITED STATES DISTRICT COURT
                               16                     SOUTHERN DISTRICT OF CALIFORNIA
                               17 JANE HUDSON, CHARISSA                       Case No.:          '17CV1741 AJB JLB
                                  LEWIS, WILLIAM PEREZ, JR.,
                               18 RUSSELL SMITH, AND                          CLASS ACTION
                                  CHRISTINA WISEMAN,
                               19 INDIVIDUALLY AND ON
                                  BEHALF OF ALL OTHERS                        COMPLAINT FOR DAMAGES AND
                               20 SIMILARLY SITUATED,                         INJUNCTIVE RELIEF PURSUANT
                               21                Plaintiffs,                  TO THE FAIR CREDIT
                                                                              REPORTING ACT, 15 U.S.C. § 1681
                               22                                             ET SEQ.
                                                          v.
                               23
                                                                              JURY TRIAL DEMANDED
                               24   EXPERIAN INFORMATION
                                    SOLUTIONS, INC.,
                               25
                                                 Defendant.
                               26
                               27
                               28
                                    Case #                                  Hudson, et al. v. Experian Information Solutions, Inc.
                                                               CLASS ACTION COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.2 Page 2 of 14



                                1                                       INTRODUCTION
                                2   1.   Jane Hudson (“Hudson”), Charissa Lewis (“Lewis”), William Perez, Jr.
                                3            (“Perez”), Russell Smith (“Smith”), and Cristina Wiseman (“Wiseman”)
                                4            (collectively “Plaintiffs”) bring this Class Action Complaint for damages,
                                5            injunctive relief, and any other available legal or equitable remedies, resulting
                                6            from the illegal actions of Experian Information Solutions, Inc. (“Defendant”
                                7            or “Experian”), for willfully violating the Fair Credit Reporting Act, 15
                                8            U.S.C. § 1681 et seq (“FCRA”). Plaintiffs allege as follows upon personal
                                9            knowledge as to themselves and their acts and experiences, and, as to all other
                               10            matters, upon information and belief, including investigation conducted by
                               11            their attorneys.
                               12   2.   Defendant is a “consumer reporting agency” under the FCRA that provides
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             consumers with their credit reports. The FCRA governs content of these
                               14            credit reports is determined by the secretion of consumer reporting agencies
                               15            such as Defendant.     Defendant continuously misrepresents the source of
                               16            public record information Defendant publishes on credit reports, specifically
                               17            the location of U.S. Bankruptcy Court for the Southern District of California
                               18            (“Public Record Information”) in violation of 15 U.S.C. § 168lg(a)(2).
                               19   3.   This practice deceives consumers and limits consumers’ access to the true
                               20            Public Record Information, therefore preventing consumers from directly
                               21            addressing the source of Public Record Information at the correct location in
                               22            order to ameliorate any errors if they should occur.
                               23                                  JURISDICTION & VENUE
                               24   4.   Original subject matter jurisdiction is valid in U.S. District Court for
                               25
                                             violations of the FCRA pursuant to 28 U.S.C. § 1331.
                               26
                               27
                               28
                                    Case #                                 1 of 13                  Hudson, et al. v. Experian
                                                                         COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.3 Page 3 of 14



                                1
                                    5.   Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant
                                2
                                             transacts business here and because Plaintiffs have resided in this District at
                                3
                                             all times relevant to these claims such that a substantial part of the events
                                4
                                             giving rise to Plaintiffs’ cause of action against Defendant occurred within
                                5
                                             this judicial district.
                                6
                                    6.   Venue is also proper in U.S. District Court, Southern District of California,
                                7
                                             pursuant to 28 U.S.C. § 1391(b) because Defendant is deemed to reside in any
                                8
                                             judicial district in which it is subject to personal jurisdiction at the time the
                                9
                                             action is commenced, and because Defendant’s contacts with this District are
                               10
                                             sufficient to subject them to personal jurisdiction since Defendant regularly
                               11
                                             operates in the city and county of San Diego.
                               12                                   PARTIES & DEFINITIONS
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                    7.   Plaintiffs are, and at all times mentioned herein natural persons, individual
                               14            citizens, and residents of the State of California, County of San Diego, in this
                               15            judicial district.    Plaintiffs are “consumers” as defined by 15 U.S.C. §
                               16            1681a(c) of the FCRA.
                               17   8.   Plaintiffs are informed and believe, and thereon allege, that Experian is, and
                               18            at all times mentioned herein was, a corporation registered in Ohio with its
                               19            principal place of business located in California. Plaintiffs allege that at all
                               20            times relevant herein Experian conducted business in the State of California,
                               21            in the County of San Diego, within this judicial district.
                               22   9.   The causes of action herein pertain to Plaintiffs’ “consumer credit reports”, as
                               23            defined by 15 U.S.C. § 1681a(d)(1) of the FCRA, in that inaccurate
                               24            misrepresentations of Plaintiffs’ information were made via written, oral, or
                               25            other communication of information by a consumer credit reporting agency,
                               26            which is used or is expected to be used, or collected in whole or in part, for
                               27            the purpose of serving as a factor in establishing Plaintiffs’ eligibility for,
                               28
                                    Case #                                  2 of 13                Hudson, et al. v. Experian
                                                                          COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.4 Page 4 of 14



                                1            among other things, credit to be used primarily for personal, family, or
                                2            household purposes, and employment purposes.
                                3                                 FACTUAL ALLEGATIONS
                                4   10.   Experian is a FCRA-governed “consumer reporting agency” or “CRA” that
                                5            publishes incorrect information to consumers that request the FCRA-
                                6            governed information in Defendant’s possession.
                                7
                                    11.   Upon information and belief, Defendant misrepresents the source of
                                8
                                             consumers’ bankruptcy Public Record Information by falsely stating that the
                                9
                                             U.S. Bankruptcy Court for the Southern District of California courthouse is
                               10
                                             located at “940 Front St, Rm 5N26, San Diego, CA 92101” while its true
                               11
                                             location is 325 W F Street, San Diego, CA 92101.
                               12
KAZEROUNI LAW GROUP, APC




                                    12.   In addition to the incorrect address, sometimes the bankruptcy case number is
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             wrong, the date filed is wrong or other bankruptcy related items are
                               14
                                             inaccurate. When such mistakes occur, consumers often go to the “source” –
                               15
                                             the bankruptcy court - seeking the correct details.
                               16
                                    13.   When a consumer goes to 940 Front Street, they will be confused, bewildered
                               17
                                             and perplexed by the fact that the bankruptcy court is not there. This causes
                               18
                                             damages to the consumer.
                               19
                                    14.   CRAs have a duty and obligation to report true and accurate information.
                               20
                                    15.   The FCRA requires credit reporting agencies, including Defendant, to
                               21
                                             “clearly and accurately disclose to the consumer the sources of the
                               22
                                             information” in the consumer’s credit report under 15 U.S.C. § 1681g(a)(2).
                               23
                                    16.   It is imperative that consumers know the true source of the Public Record
                               24
                                             Information and location of the court that possesses the correct information in
                               25
                                             their credit reports and consumers must have the ability to directly inquire
                               26
                                             from the bankruptcy court in order to ameliorate any mistakes in the Public
                               27
                               28
                                    Case #                                 3 of 13                 Hudson, et al. v. Experian
                                                                         COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.5 Page 5 of 14



                                1
                                             Record Information on credit reports without being misled and sent on a
                                2
                                             “wild goose chase” regarding the location of the court.
                                3
                                    17.   On or around September 27, 2016, Wiseman checked her Experian credit
                                4
                                             report and the Public Record Information listed the source of her Chapter 7
                                5
                                             bankruptcy as “US BKPT CT CA SAN DIEGO 940 FRONT ST RM 5N26
                                6
                                             SAN DIEGO CA 92101”, rather than the true location of the source of that
                                7
                                             information.
                                8
                                    18.   On or around October 16, 2016, Smith checked his Experian credit report and
                                9
                                             the Public Record Information listed the source of his Chapter 7 bankruptcy
                               10
                                             as “US BKPT CT CA SAN DIEGO 940 FRONT ST RM 5N26 SAN DIEGO
                               11
                                             CA 92101”, rather than the true location of the source of that information.
                               12
KAZEROUNI LAW GROUP, APC




                                    19.   On or around November 9, 2016, Perez checked his Experian credit report
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             and the Public Record Information listed the source of his Chapter 7
                               14
                                             bankruptcy as “US BKPT CT CA SAN DIEGO 940 FRONT ST RM 5N26
                               15
                                             SAN DIEGO CA 92101”, rather than the true location of the source of that
                               16
                                             information.
                               17
                                    20.   On or around November 17, 2016, Lewis checked her Experian credit report
                               18
                                             and the Public Record Information listed the source of her Chapter 7
                               19
                                             bankruptcy as “US BKPT CT CA SAN DIEGO 940 FRONT ST RM 5N26
                               20
                                             SAN DIEGO CA 92101”, rather than the true location of the source of that
                               21
                                             information.
                               22
                                    21.   On or around November 22, 2016, Hudson checked her Experian credit report
                               23
                                             and the Public Record Information listed the source of her Chapter 7
                               24
                                             bankruptcy as “US BKPT CT CA SAN DIEGO 940 FRONT ST RM 5N26
                               25
                                             SAN DIEGO CA 92101”, rather than the true location of the source of that
                               26
                                             information.
                               27
                               28
                                    Case #                                 4 of 13                Hudson, et al. v. Experian
                                                                         COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.6 Page 6 of 14



                                1
                                    22.   940 FRONT ST RM 5N26 SAN DIEGO CA 92101 is not the correct address
                                2
                                             of the U.S. Bankruptcy Court for the Southern District of California. The true
                                3
                                             address of the U.S. Bankruptcy Court for the Southern District of California is
                                4
                                             325 West F Street, San Diego, CA 92101.
                                5
                                    23.   Although formal FCRA “disputes” are not required under 15 U.S.C. §
                                6
                                             1681g(a)(2), on or around December 7, 2016, Smith submitted an online
                                7
                                             credit report dispute to Defendant regarding the inaccurate source of the
                                8
                                             Public Record Information on his credit report.
                                9
                                    24.   Smith disputed the item “US BKPT CT CA SAN DIEGO” and specifically
                               10
                                             noted in the dispute that “Reported source of the information is incorrect.”
                               11
                                    25.   On or around December 20, 2016, Plaintiffs Hudson, Lewis, Perez, and
                               12
KAZEROUNI LAW GROUP, APC




                                             Wiseman mailed Defendant a dispute regarding the inaccurate source of the
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             Public Record Information on their credit reports.
                               14
                                    26.   Hudson specifically wrote in the dispute, “The source of the Public Records
                               15
                                             bankruptcy information is incorrect,” and requested that the reporting be
                               16
                                             updated to reflect the correct source of the Public Records Information.
                               17
                                    27.   Perez and Wiseman specifically wrote in the dispute, “The reported source of
                               18
                                             the bankruptcy public information is incorrect,” and requested that the
                               19
                                             reporting be updated to reflect the correct source of the Public Records
                               20
                                             Information.
                               21
                                    28.   Lewis specifically wrote in the dispute, “The source of the bankruptcy
                               22
                                             information in the Public Records is incorrect,” and requested that the
                               23
                                             reporting be updated to reflect the correct source of the Public Records
                               24
                                             Information.
                               25
                                    29.   Defendant completed its investigation of each Plaintiffs’ disputes, and the
                               26
                                             Public Record Information remained unchanged in each Plaintiffs’ credit
                               27
                               28
                                    Case #                                 5 of 13                Hudson, et al. v. Experian
                                                                         COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.7 Page 7 of 14



                                1
                                             report, listing the source of the Public Record Information as “US BKPT CT
                                2
                                             CA SAN DIEGO 940 FRONT ST RM 5N26 SAN DIEGO CA 92101”.
                                3
                                    30.   Defendant unambiguously deprived Plaintiffs of the true source of the
                                4
                                             valuable Public Record Information, in violation of the FCRA.
                                5
                                    31.   At all times during the aforementioned actions, there was in full force and
                                6
                                             effect the following obligations pertaining to Defendant, pursuant to 15
                                7
                                             U.S.C. § 1681g(a)(2):
                                8                   Every consumer reporting agency shall, upon request,
                                9                   and subject to section 1681h(a)(1) of this title, clearly
                                                    and accurately disclose to the consumer: The sources of
                               10                   the information; except that the sources of information
                               11                   acquired solely for use in preparing an investigative
                                                    consumer report and actually used for no other purpose
                               12                   need not be disclosed: Provided, That in the event an
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                               13                   action is brought under this subchapter, such sources
    COSTA MESA, CA 92626




                                                    shall be available to the plaintiff under appropriate
                               14                   discovery procedures in the court in which the action is
                               15                   brought.

                               16   32.   At all times during the aforementioned actions, there was in full force and

                               17            effect the following obligations pertaining to Defendant, pursuant to 15

                               18            U.S.C. § 1681e(a)&(b) of the FCRA:

                               19                   (a) Identity and purposes of credit users. Every consumer reporting

                               20                   agency shall maintain reasonable procedures designed to avoid

                               21                   violations of section 605 [15 USC § 1681c] and to limit the furnishing

                               22                   of consumer reports to the purposes listed under section 604 [15 USC

                               23                   § 1681b]. These procedures shall require that prospective users of the

                               24                   information identify themselves, certify the purposes for which the

                               25                   information is sought, and certify that the information will be used for

                               26                   no other purpose. Every consumer reporting agency shall make a

                               27                   reasonable effort to verify the identity of a new prospective user and

                               28
                                    Case #                                6 of 13                Hudson, et al. v. Experian
                                                                        COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.8 Page 8 of 14



                                1
                                                     the uses certified by such prospective user prior to furnishing such
                                2
                                                     user a consumer report. No consumer reporting agency may furnish a
                                3
                                                     consumer report to any person if it has reasonable grounds for
                                4
                                                     believing that the consumer report will not be used for a purpose listed
                                5
                                                     in section 604 [15 USC § 1681b].
                                6
                                                     (b) Accuracy of report. Whenever a consumer reporting agency
                                7
                                                     prepares a consumer report it shall follow reasonable procedures to
                                8
                                                     assure maximum possible accuracy of the information concerning the
                                9
                                                     individual about whom the report relates.
                               10
                                                                   CLASS ACTION ALLEGATIONS
                               11
                                    33.   Plaintiffs bring this action on behalf of themselves and on behalf of all others
                               12
KAZEROUNI LAW GROUP, APC




                                             similarly situated (the “Class”).
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                    34.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring
                               14
                                             this action for themselves and on behalf of a Class defined as follows:
                               15
                                                     All Persons (a) who filed bankruptcy in the Southern
                               16                    District of California within the last 10 years (b) who
                               17                    requested their consumer file from Experian or any of its
                                                     affiliated companies, subsidiaries, or any other Experian
                               18                    entity, (c) within five years preceding the filing of this
                               19                    action and during its pendency.

                               20
                                    35.   Defendant and its employees or agents are excluded from the Class.

                               21
                                    36.   Plaintiffs incorporate the prior allegations and estimates that the Class is so

                               22
                                             numerous that joinder of all members is impractical. Although the precise

                               23
                                             number of Class members is known only to Defendant, Experian sends

                               24
                                             thousands of consumer credit report disclosures per year to consumers who

                               25
                                             have filed bankruptcy in the Southern District of California, and Defendant's

                               26
                                             uniform practice and procedure is to always omit the true source of its Public

                               27
                               28
                                    Case #                                  7 of 13               Hudson, et al. v. Experian
                                                                          COMPLAINT
                                     Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.9 Page 9 of 14



                                1
                                             Record Information from such disclosures. Accordingly, Plaintiffs estimate
                                2
                                             that the Class size numbers in the thousands.
                                3
                                    37.   Upon information and belief, the consumer credit reports for Plaintiffs and the
                                4
                                             members of the Class do not contain the actual source of the Public Record
                                5
                                             Information that it reported about the Plaintiffs and the putative Class
                                6
                                             members, or the true location of the U.S. Bankruptcy Court for the Southern
                                7
                                             District of California. This omission has remained consistent and uniform
                                8
                                             across time and consumers.
                                9
                                    38.   There are questions of law and fact common to the Class, which common
                               10
                                             issues predominate over any issues involving only individual class members.
                               11
                                             For example and without limitation:
                               12
KAZEROUNI LAW GROUP, APC




                                                 a.   whether Defendant misrepresented the true source and location of the
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                                    information published in the Public Record Information in its
                               14
                                                    consumer credit report disclosures;
                               15
                                                 b.   whether this failure was a result of the Defendant's standard operating
                               16
                                                    procedure when responding to a consumer's request for a full copy of
                               17
                                                    his or her credit, file;
                               18
                                                 c.   whether the Defendant's conduct constituted a violation of the FCRA;
                               19
                                                 d.   whether the Defendant's conduct was willful; and
                               20
                                                 e.   the appropriate amount of statutory and/or punitive damages that are
                               21
                                                    appropriate for such a violation.
                               22
                                    39.   Plaintiffs’ claims are typical of those of the Class members. All are based on
                               23
                                             the same facts and legal theories.     Defendant's response to a consumer's
                               24
                                             request for a full copy of his or her consumer credit report routinely failed to
                               25
                                             include any information about source of Public Record Information included
                               26
                                             on disclosures sent during the full class period. The violations alleged are the
                               27
                               28
                                    Case #                                   8 of 13              Hudson, et al. v. Experian
                                                                           COMPLAINT
                                    Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.10 Page 10 of 14



                                1
                                             same and the class claim will rise and fall entirely based upon whether or not
                                2
                                             Plaintiffs’ claim rises or falls.
                                3
                                    40.   Plaintiffs will fairly and adequately protect the interests of the Class.
                                4
                                             Plaintiffs have retained counsel experienced in handling actions involving
                                5
                                             unlawful practices against consumers and class actions. Neither Plaintiffs nor
                                6
                                             their counsel have any interest that might cause them not to vigorously pursue
                                7
                                             this action. Plaintiffs are aware of their responsibilities to the putative class
                                8
                                             and have accepted such responsibilities.
                                9
                                    41.   Certification of a class under Rule 23(b)(l) of the Federal Rules of Civil
                               10
                                             Procedure is proper. Prosecuting separate actions by or against individual
                               11
                                             Class members would create a risk of adjudications with respect to individual
                               12
KAZEROUNI LAW GROUP, APC




                                             Class members that, as a practical matter, would be dispositive of the interests
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             of the other members not parties to the individual adjudications or would
                               14
                                             substantially impair or impede their ability to protect their interests.
                               15
                                    42.   Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil
                               16
                                             Procedure is appropriate in that the Defendant has acted on grounds generally
                               17
                                             applicable to the Class thereby making appropriate declaratory relief with
                               18
                                             respect to the class as a whole.
                               19
                                    43.   Certification of the Class under Rule 23(b)(3) of the Federal Rules of Civil
                               20
                                             Procedure is also appropriate in that:
                               21
                                                  a.   As alleged above, the questions of law or fact common to the
                               22
                                                     members of the Class predominate over any questions affecting an
                               23
                                                     individual member. Each of the common facts and legal questions in
                               24
                                                     the case overwhelm the more modest individual damages issues.
                               25
                                                     Further, those individual issues that do exist can be effectively
                               26
                               27
                               28
                                    Case #                                    9 of 13                Hudson, et al. v. Experian
                                                                            COMPLAINT
                                    Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.11 Page 11 of 14



                                1
                                                     streamlined and resolved in a manner that minimizes the individual
                                2
                                                     complexities and differences in proof in the case.
                                3
                                                 b.   A class action is superior to other available methods for the fair and
                                4
                                                     efficient adjudication of the controversy. Consumer claims generally
                                5
                                                     are ideal for class treatment as they involve many, if not most,
                                6
                                                     consumers who are otherwise disempowered and unable to afford and
                                7
                                                     bring such claims individually. Further, most consumers affected by
                                8
                                                     the Defendant's FCRA violations would likely be unaware of their
                                9
                                                     rights under the law, or who they could find to represent them in
                               10
                                                     federal litigation. Additionally, individual litigation of the uniform
                               11
                                                     issues in this case would be a waste of judicial resources. The issues
                               12
KAZEROUNI LAW GROUP, APC




                                                     at the core of this case are class wide and should be resolved at one
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                                     time. One win for one consumer would set the law as for every
                               14
                                                     similarly situated consumer.
                               15
                                    44.   The Defendant's failure to disclose all the correct information that is the
                               16
                                             source of the consumer's credit report, including the sources of the Public
                               17
                                             Record Information, in response to a consumer's request for this information
                               18
                                             violated the FCRA as to the Plaintiffs and the Class members.
                               19
                                    45.   The conduct, action, and inaction of the Defendant was willful, rendering the
                               20
                                             Defendant liable for statutory and punitive damages in an amount to be
                               21
                                             determined by the Court.
                               22
                                    46.   Plaintiffs and the Class members are entitled to recover costs and attorney's
                               23
                                             fees, as well as appropriate equitable relief, from the Defendant, in an amount
                               24
                                             to be determined by the Court pursuant to 15 U.S.C. § 1681n.                    In the
                               25
                                             alternative, the violation was negligent entitling the Plaintiffs and the Class to
                               26
                                             actual damages in the amount of the value of their consumer disclosure.
                               27
                               28
                                    Case #                                  10 of 13                Hudson, et al. v. Experian
                                                                          COMPLAINT
                                    Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.12 Page 12 of 14



                                1
                                2                                        CAUSE OF ACTION
                                3                                   FAIR CREDIT REPORTING ACT
                                                                      15 U.S.C. § 1681 ET SEQ.
                                4
                                    47.   Plaintiffs incorporate by reference all of the above paragraphs of this
                                5
                                             Complaint as though fully stated herein.
                                6
                                    48.   The foregoing acts and omissions constitute numerous and multiple violations
                                7
                                             of the FCRA.
                                8
                                    49.   As a credit reporting agency, Experian is required to comply with 15 U.S.C. §
                                9
                                             1681g(a)(2) of the FCRA.
                               10
                                    50.   Experian violated 15 U.S.C. § 1681g(a)(2) by failing to clearly and accurately
                               11
                                             disclose to Plaintiffs and the Class the source and true location of the court
                               12
KAZEROUNI LAW GROUP, APC




                                             that supplied any information to the credit-reporting agency about Plaintiffs
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                             and the Class.
                               14
                                    51.   Plaintiffs are informed and believes that Defendant violated 15 U.S.C. §§
                               15
                                             1681e(a)&(b) of the FCRA by maintaining the very inaccurate information
                               16
                                             Plaintiffs disputed.
                               17
                                    52.   As a result of each and every violation of the FCRA, Plaintiffs and the Class
                               18
                                             are entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and
                               19
                                             reasonable attorney fees and costs pursuant to 15 U.S.C. § 1681o(a)(2).
                               20
                                    53.   As a result of each and every willful violation of the FCRA, Plaintiffs and the
                               21
                                             Class are also entitled to and seek actual damages of $100.00 to $1,000.00 per
                               22
                                             violation and such amount as the court may allow, pursuant to 15 U.S.C. §
                               23
                                             1681n(a)(1)(A); punitive damages as the court may allow, pursuant to 15
                               24
                                             U.S.C. § 1681n(a)(2); and reasonable attorney fees and costs pursuant to 15
                               25
                                             U.S.C. § 1681n(a)(3).
                               26
                               27
                               28
                                    Case #                                 11 of 13              Hudson, et al. v. Experian
                                                                         COMPLAINT
                                    Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.13 Page 13 of 14



                                1
                                                                      PRAYER FOR RELIEF
                                2
                                             WHEREFORE, Plaintiffs and the Class members pray for judgment as
                                3
                                    follows against Defendant:
                                4
                                             •   Certify the Class as requested herein;
                                5
                                             •   Appoint Plaintiffs to serve as the Class Representative in this matter;
                                6
                                             •   Appoint Plaintiffs’ Counsel as Class Counsel in this matter;
                                7
                                             •   Provide such further relief as may be just and proper.
                                8
                                9
                                             In addition, Plaintiffs and the Class members pray for further judgment as
                               10
                                    follows against Defendant:
                               11
                                             •   Actual damages pursuant to 15 U.S.C. § 1681o(a)(1);
                               12
KAZEROUNI LAW GROUP, APC




                                             •   Statutory damages of $1,000.00 per violation per plaintiff, per month of
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                                                reporting, pursuant to 15 U.S.C. § 1681n(a)(1);
                               14
                                             •   Punitive damages as the court may allow pursuant to 15 U.S.C. §
                               15
                                                1681n(a)(2);
                               16
                                             •   Injunctive relief to command Defendant to correct the information
                               17
                                                furnished on Plaintiffs’ and the Class’s credit reports and prohibit them
                               18
                                                from engaging in future violations;
                               19
                                             •   Attorney fees and costs to maintain the instant action, pursuant to 15
                               20
                                                U.S.C. §§ 1681n(a)(3) and 1681o(a)(2);
                               21
                                             •   Any other relief the Court may deem just and proper including interest.\
                               22
                               23
                                    ///
                               24
                                    ///
                               25
                                    ///
                               26
                                    ///
                               27
                               28
                                    Case #                                12 of 13                Hudson, et al. v. Experian
                                                                        COMPLAINT
                                    Case 3:17-cv-01741-AJB-JLB Document 1 Filed 08/29/17 PageID.14 Page 14 of 14



                                1
                                                                          TRIAL BY JURY
                                2
                                    54.   Pursuant to the Seventh Amendment to the Constitution of the United States
                                3
                                             of America, Plaintiffs are entitled to, and demand, a trial by jury.
                                4
                                5
                                    Dated: August 29, 2017                                            Respectfully submitted,
                                6
                                7
                                                                                       KAZEROUNI LAW GROUP, APC
                                8
                                9                                                                By: s/ MATTHEW M. LOKER
                                                                                                  MATTHEW M. LOKER, ESQ.
                               10                                                                         ML@KAZLG.COM
                               11                                                                 ATTORNEY FOR PLAINTIFFS

                               12
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                               13
    COSTA MESA, CA 92626




                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25

                               26
                               27
                               28
                                    Case #                                  13 of 13                Hudson, et al. v. Experian
                                                                          COMPLAINT
